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                   18                   UNITED STATES DISTRICT COURT
                   19     CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                   20 BROIDY CAPITAL MANAGEMENT                    Case No. 2:18-cv-2421
                      LLC, ELLIOTT BROIDY, and ROBIN
                   21 ROSENZWEIG,
                                                                   COMPLAINT AND DEMAND FOR
                   22              Plaintiffs,                     JURY TRIAL
                   23        v.
                   24 STATE OF QATAR, STONINGTON
                      STRATEGIES LLC, NICOLAS D.
                   25 MUZIN, and DOES 1-10,
                   26              Defendants.
                   27
                   28
                                                                        COMPLAINT AND DEMAND FOR JURY TRIAL
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                    1         Plaintiffs Broidy Capital Management LLC, Elliott Broidy, and Robin
                    2 Rosenzweig, by and through their attorneys Boies Schiller Flexner LLP, bring
                    3 this action seeking injunctive relief and monetary damages against Defendants
                    4 the State of Qatar, Stonington Strategies LLC (“Stonington”), Nicolas D.
                    5 Muzin (“Muzin”), and Does 1-10, for Defendants’ unlawful conduct, as set
                    6 forth below. Defendants Stonington, Muzin, and Does 1-10 are collectively
                    7 referred to herein as the “Agent Defendants.”
L L P




                    8                          NATURE OF THE ACTION
F L E X N E R




                    9         1.    This is a case about a hostile intelligence operation undertaken by
                   10 a foreign nation on the territory of the United States against successful,
                   11 influential United States citizens who have spoken out against that country’s
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                   12 support for terrorism and who have entered into significant business
                   13 relationships relating to defense and counterterrorism with a rival nation. The
                   14 purpose of the operation appears to have been to diminish the influence of
                   15 Plaintiffs within the United States through a campaign to discredit Plaintiffs in
B O I E S




                   16 the press and in the eyes of government officials, and to disrupt their business
                   17 relationship with rival nations.
                   18         2.    The State of Qatar, by itself and/or through its agents, unlawfully
                   19 hacked into the email accounts and computer servers of United States citizens
                   20 in California, stole private emails and documents from them, and broadly
                   21 disseminated the stolen emails and documents to domestic and foreign media.
                   22 Defendants engaged in a sophisticated electronic warfare, espionage, and
                   23 disinformation campaign against Plaintiffs in an effort to retaliate against
                   24 them, and to discredit them in the United States and abroad. In addition to
                   25 disseminating unlawfully stolen emails and documents, Defendants doctored
                   26 or wholly forged documents using information found on Plaintiffs’ computers
                   27
                   28                                         -1-
                                                                        COMPLAINT AND DEMAND FOR JURY TRIAL
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                    1 to portray a false narrative about Plaintiffs, and to disseminate that false
                    2 narrative to media organizations.
                    3         3.     The State of Qatar sponsors and supports terrorists, having once
                    4 been called a “Club Med for Terrorists.” Last year, the State of Qatar
                    5 launched a multi-million dollar public relations campaign to obfuscate its ties
                    6 to, and financial and logistical support of, some of the world’s worst extremist
                    7 and terrorist organizations—including Al Qaeda (and its affiliate Al-Shabab),
L L P




                    8 Hamas, the Taliban, and the Muslim Brotherhood—and to change its image in
F L E X N E R




                    9 the United States, specifically in the Jewish community in the United States.
                   10 To lead this campaign in the United States, the State of Qatar hired Defendant
                   11 Muzin’s firm and several other agents, included among the John Does 1-10.
S C H I L L E R




                   12         4.     Defendants’ actions are motivated by activities undertaken by
                   13 Plaintiff Broidy that threaten the State of Qatar. As a prominent member of
                   14 the American Jewish community who has frequently interacted with the
                   15 President of the United States, Plaintiff Broidy has been especially vocal in
B O I E S




                   16 expressing criticism of the State of Qatar’s support of terrorism, to private
                   17 persons, to United States government officials whom the State of Qatar wishes
                   18 to influence (including the President), and to the public at large, through the
                   19 support of initiatives that highlight Qatar’s efforts to deceive Americans (such
                   20 as by telling the world they are against terrorism and housing a United States
                   21 military base while at the same time giving support and assistance to
                   22 terrorists).
                   23         5.     On June 5, 2017, the United Arab Emirates (“UAE”) and Saudi
                   24 Arabia led an effort to isolate the State of Qatar because of the State of
                   25 Qatar’s support for terrorism as well as the country’s close ties to Iran. The
                   26 UAE and Saudi Arabia severed diplomatic relations with the State of Qatar,
                   27 and the UAE closed its airspaces to Qatari aircrafts. Saudi Arabia further
                   28                                         -2-
                                                                         COMPLAINT AND DEMAND FOR JURY TRIAL
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                    1 closed its border with Qatar and banned Qatari-flagged ships from docking at
                    2 Saudi Arabian ports.
                    3         6.     Plaintiff Broidy operates businesses that have contracts with the
                    4 government of the UAE to assist the UAE in developing its defense and
                    5 counterterrorism capabilities. These contracts, which were finalized in 2017,
                    6 are worth over $200 million. Plaintiff Broidy also has entered into
                    7 preliminary discussions with Saudi Arabia about providing similar capabilities
L L P




                    8 enhancement in that country.
F L E X N E R




                    9         7.     For more than 25 years, Plaintiff Broidy has supported the State
                   10 of Israel through donations to many organizations.
                   11         8.     Since September 11, 2001, Plaintiff Broidy has increased his
S C H I L L E R




                   12 involvement in supporting the safety of his homeland, the United States. As
                   13 part of his involvement, he became active in fundraising for the Republican
                   14 Party because he believed its views on how to defend the United States were
                   15 aligned with his own. He also became involved in numerous civic activities
B O I E S




                   16 involving counter-terrorism to promote the security of the United States.
                   17         9.     Beginning with the AIPAC Policy Conference at the end of
                   18 March 2017, Plaintiff Broidy and others began to be vocal critics of the State
                   19 of Qatar’s for its support for terrorists and its friendly relationship with Iran,
                   20 which Mr. Broidy sees as a major threat to the security of the United States
                   21 and its allies, and began to support financially public initiatives – such as
                   22 conferences – to educate Americans about Qatar’s support for terrorist and
                   23 extremist organizations.
                   24         10.    Shortly thereafter, the State of Qatar, in an attempt to blunt the
                   25 effect of the these initiatives and media reports highlighting its duplicitous
                   26 nature, hired teams of lobbyists and began to spend millions of dollars in an
                   27
                   28                                          -3-
                                                                          COMPLAINT AND DEMAND FOR JURY TRIAL
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                    1 effort to whitewash its record and hide the true facts about its support for
                    2 terrorists.
                    3         11.   These lobbyists include Avenue Strategies, a firm founded by
                    4 Corey Lewandowski, former campaign manager for the Trump campaign, and
                    5 former U.S. Attorney General John Ashcroft, whose responsibilities included
                    6 lobbying members of Congress and the Trump Administration (including the
                    7 White House) to try to convince our nation’s political leadership to see
L L P




                    8 Defendant State of Qatar in a more favorable light.
F L E X N E R




                    9         12.   Defendant State of Qatar also tried to enlist the support of the
                   10 Jewish community in the United States, and hired Defendant Muzin.
                   11 Defendant Muzin owns and operates Defendant Stonington, which is a
S C H I L L E R




                   12 registered foreign agent of the State of Qatar. The State of Qatar pays Muzin
                   13 $300,000 per month for “strategic communications” and for trying to
                   14 influence public opinion in, and the foreign policies of, the United States.
                   15 Muzin has been employed by the State of Qatar to improve the State of
B O I E S




                   16 Qatar’s image in the United States and whitewash its coddling of terrorist
                   17 leaders by getting support from Jewish leaders. Defendant Muzin first
                   18 attempted to try to arrange meetings between leaders of American Jewish
                   19 organizations and the current Emir of Qatar, Sheikh Tamim bin Hamad Al
                   20 Thani (the “Emir”) while the Emir was attending the United Nations General
                   21 Assembly in New York City. The opposition of Plaintiff Broidy and others to
                   22 these efforts helped prompt American Jewish leaders to refuse to meet with
                   23 the Emir at the United Nations General Assembly in September 2017, thereby
                   24 frustrating the State of Qatar’s plan as well as Muzin’s efforts to win over
                   25 Jewish leaders. According to a February 13, 2018 article in Tablet Magazine,
                   26 an online publication focused on Jewish news, “Muzin largely failed to
                   27
                   28                                         -4-
                                                                        COMPLAINT AND DEMAND FOR JURY TRIAL
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                    1 persuade Jewish leaders to agree to meetings with influential Qataris visiting
                    2 New York for the opening of the United Nations General Assembly.”
                    3         13.   Soon after the failure of the State of Qatar’s and the Agent
                    4 Defendants’ United Nations General Assembly initiative, Muzin began to
                    5 invite American Jewish leaders on all-expense-paid trips to Qatar to further
                    6 the State of Qatar’s public relations campaign. Plaintiff Broidy and others
                    7 again encouraged American Jewish leaders to decline the invitations. These
L L P




                    8 efforts were mostly successful in helping to prompt many American Jewish
F L E X N E R




                    9 leaders to decline to participate in the public relations trips to Qatar.
                   10         14.   The Emir is expected to travel again to the United States in April
                   11 2018 for bilateral meetings with the Trump Administration and visits to
S C H I L L E R




                   12 Capitol Hill. The failure of the State of Qatar and its agents to improve the
                   13 State of Qatar’s image in the United States—and, specifically, with the
                   14 American Jewish community—led to meetings and discussions in advance of
                   15 the Emir’s anticipated visit to discuss the impediments to the State of Qatar’s
B O I E S




                   16 public relations efforts. On information and belief, during those discussions,
                   17 many of which occurred in the Embassy of Qatar in Washington, D.C.,
                   18 Defendant Muzin fingered Plaintiff Broidy as such an impediment.
                   19         15.   Starting last year, the State of Qatar, Muzin, and other foreign
                   20 agents conspired in a strategic campaign to retaliate against and discredit
                   21 Plaintiff Broidy. Through this campaign, Defendant State of Qatar seeks to
                   22 damage Plaintiff Broidy’s reputation in order to frustrate his ability to educate
                   23 the American people about Qatar, to damage his reputation and reduce his
                   24 influence within the United States, to harm his ability to do further business
                   25 with the UAE and other Middle Eastern countries that are aligned against
                   26 Qatar because of its support for terrorism, and to impact negatively his other
                   27 business prospects around the world.
                   28                                          -5-
                                                                          COMPLAINT AND DEMAND FOR JURY TRIAL
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                    1        16.     Over a period of months, on information and belief in the second
                    2 half of 2017 and in the first quarter of 2018, including critically on February
                    3 14, 2018, the State of Qatar, by itself and/or through its agents, hacked
                    4 Plaintiffs’ personal and business email accounts and computer servers in
                    5 California. On information and belief, during the same time period and using
                    6 similar techniques, the State of Qatar also, by itself and/or through its agents,
                    7 hacked the electronic communications of at least one other United States-
L L P




                    8 based, United States citizen who was also involved in activities that threatened
F L E X N E R




                    9 Defendant State of Qatar’s public relations campaign.
                   10        17.    On information and belief, Defendants illegally accessed
                   11 Plaintiffs’ credentials and used those credentials, along with other means, to
S C H I L L E R




                   12 access Plaintiffs’ computer networks, and to thereafter steal and doctor
                   13 Plaintiffs’ emails and documents.
                   14        18.    On information and belief, Defendants then began to disseminate
                   15 these emails and documents—including the forged documents—to media
B O I E S




                   16 organizations around the world and to provide those media organizations with
                   17 false stories based on those documents.
                   18        19.    Defendants’ efforts to target Plaintiff Broidy in this manner have
                   19 been largely successful—several media organizations have published articles
                   20 (including front page stories in the March 22 and 26, 2018 editions of The
                   21 New York Times, a March 26, 2018 story by the Associated Press, a story in
                   22 the March 1, 2018 edition of the Wall Street Journal, and additional articles in
                   23 The Huffington Post, McClatchy and Bloomberg News, which stories were
                   24 reprinted or summarized by numerous other news outlets). As acknowledged
                   25 in the article in today’s New York Times,these articles were based on
                   26 information news organizations received from anonymous sources which
                   27 claimed the materials were hacked from Plaintiffs’ computers. Some of the
                   28                                         -6-
                                                                         COMPLAINT AND DEMAND FOR JURY TRIAL
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                    1 documents received by these news organizations were clearly falsified, altered
                    2 or forged.
                    3         20.    Al Jazeera, the international broadcaster owned by the State of
                    4 Qatar, was the only news organization willing to publish a story that relied on
                    5 clearly falsified or forged documents purporting to contain proof that Plaintiff
                    6 Broidy engaged in potentially unlawful business activities with a Russian
                    7 bank that is now sanctioned by the United States.
L L P




                    8         21.   As a result of Defendants’ actions, Plaintiffs, and in particular
F L E X N E R




                    9 Plaintiff Broidy, have been harmed. If Defendants are not enjoined from
                   10 disseminating the unlawfully obtained and fabricated data, Plaintiffs will
                   11 continue to suffer further serious injury. As a result, Plaintiffs request
S C H I L L E R




                   12 injunctive relief to prevent the further accessing, use, and dissemination of
                   13 Plaintiffs’ data by Defendants, who seek only to benefit themselves and harm
                   14 Plaintiffs by illegally targeting United States citizens. Plaintiffs also seek
                   15 monetary damages with respect to harm that has already occurred, despite the
B O I E S




                   16 inability of such monetary damages to fully compensate Plaintiffs for the
                   17 harm they have suffered.
                   18                                     PARTIES
                   19         22.   Plaintiff Broidy Capital Management LLC (“BCM”) is an
                   20 investment firm run by Plaintiff Elliott Broidy. BCM is a corporation duly
                   21 organized under the laws of the State of California with its principal place of
                   22 business in Los Angeles, California.
                   23         23.   Plaintiff Elliott Broidy is a citizen of the United States and the
                   24 State of California who resides in Los Angeles, California. Plaintiff Broidy is
                   25 the Chief Executive Officer and Chairman of BCM.
                   26         24.   Plaintiff Robin Rosenzweig is a citizen of the United States and
                   27 the State of California who resides in Los Angeles, California. Plaintiff
                   28                                         -7-
                                                                         COMPLAINT AND DEMAND FOR JURY TRIAL
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                    1 Rosenzweig is a sole practitioner attorney with a law firm called Colfax Law
                    2 Office, Inc. and the wife of Plaintiff Broidy.
                    3        25.    Defendant the State of Qatar is a foreign state. The head of state
                    4 and head of government of Qatar is the current Emir of Qatar, Sheikh Tamim
                    5 bin Hamad Al Thani. The Emir has made visits to Los Angeles, California
                    6 and has hosted the Mayor of Los Angeles, Eric Garcetti, in Doha, the capital
                    7 of Qatar, as part of an effort to strengthen the partnership between the cities of
L L P




                    8 Los Angeles and Doha. Additionally, the State of Qatar maintains a
F L E X N E R




                    9 Consulate in Los Angeles, California. Entities related to the State of Qatar
                   10 own a majority interest in Ooredoo Q.S.C. (“Ooredoo”), an international
                   11 telecommunications company incorporated under the laws of Qatar with its
S C H I L L E R




                   12 principal place of business in Doha, Qatar. Ooredoo provides services
                   13 throughout the Middle East and Southeast Asia and, in partnership with T-
                   14 Mobile and AT&T, provides roaming services in the United States, and its
                   15 facilities were employed to attack Plaintiffs’ computer servers.
B O I E S




                   16        26.    Defendant Stonington Strategies LLC is a public relations and
                   17 lobbying firm incorporated under the laws of Delaware, with its principal
                   18 place of business in New York City. Stonington registered on September 3,
                   19 2017 under the Foreign Agents Registration Act (“FARA”), 22 U.S.C. § 611
                   20 et seq., as a foreign agent providing “strategic communications” for the State
                   21 of Qatar. Stonington originally was retained to provide these services for
                   22 $50,000 per month. On November 1, 2017, the State of Qatar increased the
                   23 amount to $300,000 per month.
                   24        27.    Defendant Nicolas D. Muzin is the Chief Executive Officer of
                   25 Stonington and a political lobbyist who signed the FARA documents on
                   26 behalf of Stonington as a registered foreign agent of the State of Qatar.
                   27
                   28                                         -8-
                                                                         COMPLAINT AND DEMAND FOR JURY TRIAL
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                   1 Defendant Muzin is a citizen of the United States and a resident of the state of
                   2 Maryland.
                   3         28.    On information and belief, Defendants Does 1-10 are agents of
                   4 the State of Qatar, some of whom may not have not registered under FARA.
                   5 On information and belief, none of Defendants Does 1-10 is a citizen or
                   6 resident of the state of California.
                   7                          JURISDICTION AND VENUE
L L P




                   8         29.    This Court has subject matter jurisdiction and personal
F L E X N E R




                   9 jurisdiction over the State of Qatar pursuant to 28 U.S.C. § 1330 and the
                  10 Foreign Sovereign Immunities Act (the “FSIA”), 28 U.S.C. § 1602 et seq.,
                  11 because its conduct falls within the exception to foreign sovereign immunity
S C H I L L E R




                  12 set forth in 28 U.S.C. § 1605(a)(5). Plaintiffs intend to serve the State of
                  13 Qatar pursuant to 28 U.S.C. § 1608(a), among other lawful means that may
                  14 present themselves.
                  15         30.    This Court further has subject matter jurisdiction over this action
B O I E S




                  16 under 28 U.S.C. § 1331, and supplemental jurisdiction over Plaintiffs’ state
                  17 law claims under 28 U.S.C. § 1367. Additionally, this Court has subject
                  18 matter jurisdiction over Plaintiffs’ claims under 28 U.S.C. § 1332 because
                  19 Plaintiffs are all citizens of the state of California and, to Plaintiffs’
                  20 knowledge, none of the Defendants is a citizen of the state of California.
                  21 Accordingly, the citizenship of the parties is diverse. The amount in
                  22 controversy exceeds $75,000, exclusive of interest and costs.
                  23         31.    This Court has personal jurisdiction over the Agent Defendants
                  24 under the state of California’s long-arm statute, Cal. Civ. Proc. Code § 410.10.
                  25         32.    Venue is proper in this judicial district under 28 U.S.C. §
                  26 1391(b)(2) because a substantial part of the events or omissions giving rise to
                  27 this claim occurred in this judicial district. Venue is also proper in this
                  28                                           -9-
                                                                          COMPLAINT AND DEMAND FOR JURY TRIAL
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                   1 judicial district under 28 U.S.C. § 1391(f)(1) for the same reasons and because
                   2 Defendant the State of Qatar is a foreign state.
                   3                            STATEMENT OF FACTS
                   4 I.     DEFENDANTS DELIBERATELY TARGETED PLAINTIFF
                            BROIDY BECAUSE OF HIS AFFILIATIONS, HIS
                   5        INFLUENCE, AND HIS CRITICISMS OF THE STATE OF
                            QATAR.
                   6
                   7        33.    Defendant the State of Qatar has allowed and continues to allow
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                   8 itself to be a sanctuary for terrorist leaders and organizations, including but
F L E X N E R




                   9 not limited to Al Qaeda (and its affiliates including Al-Shabab and Al Qaeda
                  10 in Syria, also known as Al-Nusra Front or Jabhat Al-Nusra), Hamas, the
                  11 Taliban, and the Muslim Brotherhood.
S C H I L L E R




                  12        34.    Numerous individuals residing in Qatar have been sanctioned by
                  13 the United States Department of Treasury for raising funds for Al Qaeda.
                  14        35.    Individuals who serve as fundraisers for Al Qaeda’s Syrian
                  15 franchise (the Nusra Front) operate freely in Qatar. These individuals appear
B O I E S




                  16 at state-owned Mosques and on broadcasts aired by the state-funded Al
                  17 Jazeera. The State of Qatar has failed to shut down these fundraisers.
                  18        36.    The State of Qatar has also been accused of hosting the Somali
                  19 terrorist group Al-Shabab, an Al Qaeda affiliate.
                  20        37.    The State of Qatar also has permitted Hamas leaders to operate
                  21 freely within the country. Indeed, the State of Qatar has provided substantial
                  22 funding to Hamas, despite being subjected to international political and
                  23 economic sanctions for such support.
                  24        38.    The State of Qatar has further allowed the Taliban to operate and
                  25 maintain an office in Doha.
                  26
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                  28                                        -10-
                                                                        COMPLAINT AND DEMAND FOR JURY TRIAL
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                   1         39.     The State of Qatar has given safe haven to many leaders of the
                   2 Muslim Brotherhood after their expulsion from Egypt by the Egyptian
                   3 government.
                   4         40.     On May 25, 2017, a bill (H.R. 2712) was introduced in the
                   5 United States House of Representatives titled “The Palestinian International
                   6 Terrorism Support Prevention Act of 2017.” The draft bill, which would have
                   7 barred assistance from the United States government to any country that aided
L L P




                   8 Hamas, stated in its findings that “Hamas has received significant financial
F L E X N E R




                   9 and military support from Qatar.”
                  10         41.     On June 5, 2017, the UAE, Saudi Arabia and other Middle
                  11 Eastern states severed diplomatic relations with the State of Qatar because of
S C H I L L E R




                  12 the State of Qatar’s support for terrorism and its close ties to Iran. Other
                  13 governments, including Yemen, the Maldives, and Libya, quickly followed.
                  14 The UAE, Egypt, and Bahrain each also closed their airspaces to Qatari
                  15 aircraft. Saudi Arabia closed its border with the State of Qatar and banned
B O I E S




                  16 Qatari-flagged ships from docking at its ports. The UAE and the other
                  17 sanctioning states issued a set of demands to the State of Qatar through
                  18 Kuwaiti intermediaries. Those demands included that the State of Qatar curb
                  19 ties with Iran and stop funding terrorist organizations. Those demands were
                  20 rejected.
                  21         42.     These international sanctions on the State of Qatar remain in
                  22 effect today.
                  23         43.     Defendant State of Qatar is a nation rich in natural gas resources,
                  24 but it is reliant on food and other supplies that arrive by truck via its border
                  25 with Saudi Arabia. The sanctions threatened to damage Qatar’s economy.
                  26         44.     As a result of its Arab neighbors severing diplomatic relations
                  27 with the country and in fear of the enactment of H.R. 2712, the State of Qatar
                  28                                          -11-
                                                                         COMPLAINT AND DEMAND FOR JURY TRIAL
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                   1 decided to retain agents in Washington, D.C. and to pay them significant sums
                   2 of money to impact public opinion and public policy in the United States.
                   3 According to the Center for Responsive Politics, the State of Qatar spent
                   4 nearly five million dollars on lobbyists and media relations in 2017 in an
                   5 effort to ensure that the United States would support the State of Qatar in its
                   6 diplomatic standoff with other Arab countries.
                   7        45.    Among the high-profile agents hired by the State of Qatar was
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                   8 former Attorney General John Ashcroft, who leads that engagement for the
F L E X N E R




                   9 Ashcroft Law Group. The relevant contract with the State of Qatar states that
                  10 former Attorney General Ashcroft would seek to “enlist the support and
                  11 expertise of former key government leaders, including former officials who
S C H I L L E R




                  12 held very senior positions within the Intelligence Community, the Federal
                  13 Bureau of Investigation, the Department of Treasury and the Department of
                  14 Homeland Security[.]”
                  15        46.    Defendant Muzin also sought out other high-profile individuals
B O I E S




                  16 who could be helpful in furthering the interests of the State of Qatar. On
                  17 information and belief, Defendant Muzin recruited former Arkansas Governor
                  18 Mike Huckabee, a Republican candidate for President, prominent media
                  19 commentator, and father of current White House Press Secretary Sarah
                  20 Huckabee Sanders, to participate on a trip to Qatar. On January 8, 2018,
                  21 former Governor Huckabee tweeted “I’m in Doha,” and then on January 12,
                  22 2018, tweeted, “Just back from a few days in surprisingly beautiful, modern,
                  23 and hospitable Doha[.]”
                  24        47.    On information and belief, Defendant Muzin also met with White
                  25 House aide Victoria Coates, the Senior Director for International Negotiations
                  26 on the National Security Council and a former aide to Senator Ted Cruz, to
                  27 advocate for United States policies that would be supportive of the State of
                  28                                        -12-
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                   1 Qatar. On information and belief, Defendant Muzin got Coates to have her
                   2 boss, Jason Greenblatt, the Special Envoy for International Negotiations, send
                   3 out a Tweet that was supportive of Qatar. On February 9, 2018, Greenblatt
                   4 tweeted: “Qatar partnering with Israel can bring real relief to the people of
                   5 Gaza. Ending support for Hamas and focusing on humanitarian aid and
                   6 reconstruction will end the suffering.”
                   7        48.    One of the objectives of this multi-million dollar lobbying effort
L L P




                   8 was to whitewash and obscure the voluminous record of the State of Qatar’s
F L E X N E R




                   9 support for terrorism. The State of Qatar also sought to discredit United States
                  10 citizens who opposed the State of Qatar’s agenda and frustrated its public
                  11 relations offensive.
S C H I L L E R




                  12        49.    Even before Defendant Muzin was retained, officials of
                  13 Defendant State of Qatar told him at a meeting in Qatar of their concerns
                  14 about Plaintiff Broidy. As Defendant Muzin recounted, “They knew about
                  15 him [Broidy]” and “knew that he [Broidy] had been influential” in shaping the
B O I E S




                  16 White House’s views on Qatar.
                  17        50.    Qatari officials complained in particular about President Trump’s
                  18 remarks at a June 2017 meeting of the Republican National Committee where
                  19 President Trump singled out Plaintiff Broidy in the audience and stated:
                  20 “Elliott Broidy is fantastic.” That acknowledgment was followed by a round
                  21 of applause. Later in his speech, President Trump made the following remarks
                  22 in the speech: “We’re having a dispute with Qatar — we’re supposed to say
                  23 Qatar. It’s Qatar, they prefer. I prefer that they don’t fund terrorism.”
                  24        51.    According to Defendant Muzin, the officials of Defendant State
                  25 of Qatar, with whom he met shortly after President Trump’s remarks stated:
                  26
                  27
                  28                                        -13-
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                   1 “Broidy was like sitting in the front row and that he had somehow prompted
                   2 Trump to say that.”
                   3        52.    According to filings with the United States Department of Justice
                   4 mandated under FARA, at least the following agents were retained in the
                   5 second half of 2017 or the first quarter of 2018 to help the State of Qatar to
                   6 improve its image in the United States:
                   7              a. Avenue Strategies Global LLC (July 17, 2017 agreement), a
L L P




                   8                  firm with which former Trump Campaign Manager Corey
F L E X N E R




                   9                  Lewandowski has been affiliated, at the rate of $150,000 per
                  10                  month, increased to $500,000 per month on September 5,
                  11                  2017;
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                  12               b. Stonington Strategies LLC (August 24, 2017 agreement) at
                  13                  the rate of $50,000 per month, increased to $300,000 per
                  14                  month on November 1, 2017;
                  15
B O I E S




                                   c. Ashcroft Law Group (June 7, 2017 agreement), at the rate of
                  16                  $2.5 million for a 90 day retainer
                  17               d. Levick Strategic Communications (June 5, 2017 agreement) at
                  18                  the rate of $54,000 per month;
                  19               e. Information Management Services Inc. (June 19, 2017
                  20                  agreement) at the rate of $375,000 per month;
                  21               f. Conover & Gould Strategic Communications (June 29, 2017
                  22                  agreement) at the rate of $100,000 per month;
                  23               g. Gallagher Group (July 11, 2017 agreement) at the rate of
                  24                  $25,000 per month;
                  25               h. McDermott, Will & Emery (July 13, 2017 agreement) at the
                  26                  rate of $40,000 per month;
                  27
                  28                                        -14-
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                   1              i. Nelson Mullins Riley & Scarborough LLP (July 26, 2017
                   2                  agreement) at the rate of $100,000 per month;
                   3              j. Portland PR (December 6, 2017 agreement) at the rate of
                   4                  $123,195 per month;
                   5              k. Mercury Public Affairs (September 7, 2017 agreement) at the
                   6                  rate of $120,000 per month;
                   7              l. Bluefront Strategies (September 12, 2017 agreement)
L L P




                   8                  $100,000;
F L E X N E R




                   9              m. Hawksbill Group (August 1, 2017 agreement) $165,000;
                  10              n. Vitello Consulting (December 6, 2017 agreement) $10,000 as
                  11                  a subcontractor of Stonington Strategies;
S C H I L L E R




                  12              o. Iron Bridge Strategies (February 1, 2018 agreement) at the
                  13                  rate of $25,000 per month;
                  14              p. Tigercomm LLC (January 11, 2018 agreement) at the rate of
                  15                  $30,000 per month;
B O I E S




                  16              q. Husch Blackwell Strategies (February 1, 2018 agreement) at
                  17                  the rate of $25,000 per month;
                  18              r. SGR Government Relations & Lobbying (February 1, 2018
                  19                  agreement) at the rate of $40,000 per month; and
                  20              s. Venable LLP (January 31, 2018 agreement) at the rate of
                  21                  $150,000 per month.
                  22        53.   Defendant Muzin, CEO of Stonington, is a graduate of Yale Law
                  23 School and a high-level Republican political operative. Muzin served as chief
                  24 of staff to then-Congressman Tim Scott and served as senior policy advisor
                  25 and deputy chief of staff for strategy to Senator Ted Cruz. According to his
                  26 biography on the Stonington website, Muzin also worked on the Trump
                  27
                  28                                        -15-
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                   1 Presidential campaign as well as on the transition team to recruit candidates
                   2 for the new Administration.
                   3        54.    Defendant Muzin’s efforts as an agent of the State of Qatar
                   4 quickly focused on an effort to put a pro-Jewish spin on the State of Qatar’s
                   5 facilitation of terrorist activities in the Middle East. Muzin is quoted in a
                   6 September 5, 2017 article in O’Dwyer’s, an online magazine covering the
                   7 public relations industry, as stating: “Engagement with Qatar can only be in
L L P




                   8 the best interests of the United States and the Jewish community, as we cannot
F L E X N E R




                   9 allow Qatar to be ostracized by its neighbors and pushed into Iran’s sphere of
                  10 influence.”
                  11        55.    Shortly thereafter, as reported by the Israeli newspaper Haaretz,
S C H I L L E R




                  12 Defendant Muzin invited American Jewish leaders to meet with the Emir in
                  13 New York City during the Emir’s visit for the United Nations General
                  14 Assembly later that month.
                  15        56.    The Zionist Organization of America (“ZOA”) reacted to that
B O I E S




                  16 invitation with a press release on September 12, 2017, in which the
                  17 organization’s president, Morton A. Klein, stated that although he had
                  18 “received an invitation to meet with” the Emir of Qatar during the United
                  19 Nations General Assembly, he had “decided not to accept this invitation.”
                  20 Mr. Klein further stated: “Any Jewish leader meeting with the Qatari Emir or
                  21 Crown Prince likely means well, but he will serve as an unwitting prop in
                  22 their PR ploy to whitewash the legitimate reasons why its Arab Muslim
                  23 neighbors are boycotting them and why Israel and Jews are horrified by them,
                  24 meaning it will only strengthen Qatar’s embrace of Iran and critical backing of
                  25 Hamas.”
                  26        57.    Around that time and subsequently, Defendant Muzin, along with
                  27 others, also invited American Jewish leaders to Qatar.
                  28                                        -16-
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                   1         58.    Plaintiff Broidy and others spoke out in response to Defendant
                   2 Muzin’s efforts on behalf of the State of Qatar.
                   3         59.    Plaintiff Broidy is a prominent business and civic leader who has
                   4 actively served in leadership roles in Jewish organizations and the Republican
                   5 Party for decades. His advocacy against terrorism and extremism is well
                   6 known. Plaintiff Broidy served on the Homeland Security Advisory Council
                   7 from 2006 to 2009 and specifically on the Future of Terrorism Task Force of
L L P




                   8 that Council. The “Findings” report of that Task Force, issued on January 11,
F L E X N E R




                   9 2007, stated: “Factors that will influence the future of terrorism include: the
                  10 leadership of the terrorists, US counterterrorism efforts, status of political
                  11 reform in Muslim nations and the elimination of safe havens[.]” (emphasis
S C H I L L E R




                  12 added.) This report was directed at and, on information and belief, was
                  13 known to countries operating as safe havens for terrorist organizations,
                  14 including the State of Qatar.
                  15         60.    Plaintiff Broidy also has substantial business ties to the UAE, a
B O I E S




                  16 regional rival of Qatar. Through his work with a contractor to the government
                  17 of the UAE, he has been involved in strengthening the UAE’s defense
                  18 capabilities and its capabilities to combat terrorist organizations, including
                  19 those organizations being provided safe harbor by the State of Qatar.
                  20         61.    In meetings with United States Government officials and civic
                  21 leaders, including the President of the United States, Plaintiff Broidy has been
                  22 critical of the State of Qatar for its coziness with Iran and its facilitation of the
                  23 work of terrorists. Plaintiff Broidy’s opposition to Qatar’s policies was well
                  24 known.
                  25         62.    Beginning in or around September 2017, Plaintiff Broidy and
                  26 others began telling American Jewish leaders that they should decline the
                  27
                  28                                          -17-
                                                                          COMPLAINT AND DEMAND FOR JURY TRIAL
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                   1 invitations of the State of Qatar and Defendant Muzin to meet with the Emir
                   2 in New York City and/or to visit Qatar.
                   3        63.    Additionally, on September 15, 2017, Forbes published a piece
                   4 by a contributing writer titled “Why is Qatar offering to trade dead Israelis for
                   5 meetings with live Jews?” The article reported that an offer was being made
                   6 to American Jewish leaders to return the corpses of two Israeli soldiers whom
                   7 Hamas had killed if those leaders would meet with the Emir. The article
L L P




                   8 stated:
F L E X N E R




                   9               a. Rabbi Shmuel Boteach (who according to Newsweek is one of
                  10                  the ten most influential rabbis in the United States) stated that
                  11                  “all who agreed to whitewash the terror-stained hands of the
S C H I L L E R




                  12                  emir would be condoning murder.”
                  13               b. The State of Qatar hired Defendant Muzin, who “may have
                  14                  hinted to some Jewish leaders that his lobbying had the
                  15                  ‘blessing’ of Israel’s elected government.” Israel’s
B O I E S




                  16                  Ambassador to the United States, Ron Dermer, denied this,
                  17                  stating: “It is not true.”
                  18               c. The State of Qatar has admitted to giving approximately $1.4
                  19                  billion to Hamas over the past few years.
                  20               d. Qatar is “like Woodstock for terrorists,” and has also “been
                  21                  accused of hosting the Somali terrorist group Al-Shabab, an al
                  22                  Qaeda affiliate.”
                  23               e. Defendant Muzin claimed that he contacted prominent
                  24                  American Jewish leaders, but that “[e]ach denied agreeing to
                  25                  any meeting with Qatar and two of these leaders denied ever
                  26                  even speaking to Muzin.” “Like a child’s game of telephone,
                  27                  Muzin apparently told each Jewish leader that a different
                  28                                         -18-
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                   1                    prominent Jew had already agreed to meet the emir. This
                   2                    didn’t turn out to be true.”
                   3        64.      Although many American Jewish leaders declined the invitations
                   4 given in September 2017, Defendant Muzin continued his attempts to arrange
                   5 trips to Qatar for American Jewish leaders. These trips furthered the State of
                   6 Qatar’s strategy to court favor with high-profile American Jewish leaders,
                   7 whom they believed could shift United States policy in favor of the State of
L L P




                   8 Qatar. On information and belief, in some instances, Defendant Muzin paid
F L E X N E R




                   9 for the trips taken. Among those participating in the trips were:
                  10              a. Rabbi Shmully Hecht, co-founder and Rabbinical Advisor of
                  11                 Shabtai, the Jewish Society at Yale University, who wrote in a
S C H I L L E R




                  12                 January 25, 2018 article in The Times of Israel, an online Israeli
                  13                 newspaper: “A few months ago, Nick Muzin asked me to attend
                  14                 meetings with influential global thought leaders who are also
                  15                 prominent in the Jewish world, and the Emir of Qatar. . . . Many
B O I E S




                  16                 prominent Jewish leaders have flown to Qatar and have spent
                  17                 quality time with the country’s leadership.”
                  18              b. Alan Dershowitz, the Felix Frankfurter Professor of Law,
                  19                 Emeritus, at Harvard Law School, who wrote in a January 12,
                  20                 2018 article in The Hill: “I just returned from a private visit to
                  21                 Qatar, at the invitation of and paid for by the Emir. . . . I observed
                  22                 that Qatar is quickly becoming the Israel of the Gulf States,
                  23                 surrounded by enemies, subject to boycotts and unrealistic
                  24                 demands, and struggling for its survival.”
                  25              c. Mr. Klein, the President of ZOA, who, despite his initial
                  26                 reluctance to meet with the Emir at the United Nations,
                  27                 ultimately decided to travel to Qatar in order to have the chance
                  28                                          -19-
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                   1                 to confront the Emir, wrote in a January 30, 2018 article in
                   2                 Haaretz: “I decided it was important for me to speak truth to
                   3                 power, especially when the Emir repeatedly invited me to give
                   4                 them my views on what they needed to do.”
                   5              d. Malcolm Hoenlein, the executive vice chairman of the
                   6                 Conference of Presidents of Major Jewish Organizations.
                   7        65.      Despite these successes, there was nonetheless significant
L L P




                   8 backlash in the American Jewish community against Defendant Muzin’s work
F L E X N E R




                   9 on behalf of the State of Qatar. For example:
                  10              a. On January 15, 2018, Rabbi Shmuel Boteach published “An
                  11                 Open Letter to the Emir of Qatar,” stating: “Newspapers are
S C H I L L E R




                  12                 filled with reports that you have hired an Orthodox Jew, Nick
                  13                 Muzin, of Stonington Strategies, and his partners, as agents of
                  14                 Qatar to promote your image among American Jews, and to
                  15                 lobby the US government. There is non-stop chatter of rabbis,
B O I E S




                  16                 writers and community leaders accepting free trips to Doha,
                  17                 which is big news because your regime funds Hamas — which is
                  18                 responsible for an endless stream of funerals in Israel.”
                  19              b. A spokesman for the Israeli Embassy in Washington denounced
                  20                 the trips to Qatar. See Haaretz on January 31, 2018 (“We oppose
                  21                 this outreach effort in the Jewish and pro-Israel community.”)
                  22                 and the New York Times on February 9, 2018 (“We do not
                  23                 approve of these visits by the Jewish organizations to Qatar.”).
                  24        66.      Plaintiff Broidy did not make any public statements against the
                  25 trips to Qatar, but he and others did speak with other American Jewish leaders
                  26 to discourage them from going on the trips being organized by Defendant
                  27 Muzin on behalf of the State of Qatar.
                  28                                          -20-
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                   1         67.    Plaintiff Broidy’s past and present activities also put him on the
                   2 State of Qatar’s radar. Defendant Muzin had weekly meetings at the Embassy
                   3 of Qatar in Washington, D.C., where he discussed information about ongoing
                   4 political activities. As Defendant Muzin later admitted: “Broidy’s name
                   5 comes up in Embassy meetings often.” At those meetings, as Defendant
                   6 Muzin later admitted: “I definitely identified him as somebody who, was not,
                   7 didn’t like them too much.” Defendant Muzin also stated: “There’s no
L L P




                   8 question I had conversations with them [the Qataris] about Elliott.”
F L E X N E R




                   9         68.    Defendant the State of Qatar and the Agent Defendants reacted to
                  10 Plaintiff Broidy’s exercise of his right to speak out on an issue of national and
                  11 international concern by engaging in a series of attacks on the private
S C H I L L E R




                  12 communications, documents and intellectual property of Plaintiff Broidy, his
                  13 wife and his company.
                  14 II.     PLAINTIFFS’ EMAILS WERE HACKED, STOLEN, AND
                             ALTERED.
                  15
B O I E S




                             69.    On information bad belief, sometime prior to December 27,
                  16
                       2017, Defendant State of Qatar directed its espionage and offensive cyber and
                  17
                       intelligence capabilities toward Plaintiffs and their facilities within the
                  18
                       territory of the United States.
                  19
                             70.    On December 27, 2017, Plaintiff Rosenzweig received an email
                  20
                       on her computer that appeared to be a Gmail security alert. As requested by
                  21
                       the email, she entered her credentials.
                  22
                             71.    On information and belief, that email was a phishing email
                  23
                       designed to gain unauthorized access into Plaintiff Rosenzweig’s personal
                  24
                       Google accounts, which contained, among other things, usernames and
                  25
                       passwords to access other email accounts, including Plaintiff Rosenzweig’s as
                  26
                       well as those of Plaintiffs Broidy and BCM.
                  27
                  28                                          -21-
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                   1          72.   Beginning January 16, 2018 and continuing until at least March
                   2 2, 2018, multiple instances of unlawful access to corporate email accounts at
                   3 BCM occurred. The accounts targeted included but were not limited to
                   4 Plaintiff Broidy’s own email account.
                   5          73.   Although initial forensic analysis of the BCM email server logs
                   6 suggested that the unauthorized access originated from IP addresses in the
                   7 United Kingdom and the Netherlands, a more thorough review of server data
L L P




                   8 from February 14, 2018 revealed that the attack had originated from an IP
F L E X N E R




                   9 address in Qatar. On information and belief, the IP addresses in the
                  10 Netherlands and the United Kingdom originally identified were used to mask
                  11 the true identity of the source of the intrusion. Plaintiff Broidy’s advanced
S C H I L L E R




                  12 cyber unit was able to uncover problems with the attacker’s obfuscation
                  13 technique on February 14, 2018, which revealed that the attack originated in
                  14 Qatar.
                  15 III.     DEFENDANT THE STATE OF QATAR, ACTING
B O I E S




                              THROUGH STATE-OWNED INSTRUMENTALITIES AND
                  16          THE AGENT DEFENDANTS, DELIBERATELY
                              OBTAINED AND DISSEMINATED STOLEN AND
                  17          ALTERED EMAILS AND DOCUMENTS (WHILE
                              KNOWING THEY WERE STOLEN), AND ENGAGED IN A
                  18          HOSTILE CAMPAIGN AGAINST PLAINTIFF BROIDY.
                  19          74.   On March 1, 2018, the contents of emails stolen from Plaintiffs
                  20 appeared in the Wall Street Journal in an article titled, “Trump Ally Was in
                  21 Talks to Earn Millions in Effort to End 1MDB Probe in U.S.” Additional
                  22 emails stolen from those accounts were published or reported on in other
                  23 media outlets: the Huffington Post on March 2, 2018; the New York Times on
                  24 March 3, 2018; and the BBC on March 5, 2018. On March 22, 2018, the New
                  25 York Times published a front page article noting that an “anonymous group
                  26 critical of Mr. Broidy’s advocacy of American foreign policies in the Middle
                  27 East” has been distributing “documents, which included emails, business
                  28                                        -22-
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                   1 proposals and contracts,” supposedly belonging to Plaintiffs. On March 23,
                   2 2018, Bloomberg published an article alleging that Plaintiff Broidy had helped
                   3 get Russian companies removed from a United States sanctions list; the news
                   4 article noted that it had “received two separate documents this week
                   5 purporting to be versions” of a unverifiable January 2017 proposal by Plaintiff
                   6 Broidy geared towards influencing United States officials. On March 26,
                   7 2018, the New York Times published another front page story on Plaintiff
L L P




                   8 Broidy that again acknowledged that it relied on “[h]undreds of pages of Mr.
F L E X N E R




                   9 Broidy’s emails, proposals and contracts” received from “an anonymous
                  10 group critical of Mr. Broidy’s advocacy of American foreign policies in the
                  11 Middle East.” On information and belief, the State of Qatar, acting through
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                  12 the Agent Defendants, disseminated the various stolen emails and documents,
                  13 some of which had been doctored.
                  14        75.    On information or belief, the State of Qatar, acting through the
                  15 Agent Defendants, disseminated additional stolen documents that were not
B O I E S




                  16 authentic (including documents that had been altered or wholly fabricated)
                  17 that attempt to portray Plaintiff Broidy as involved with a Russian bank that
                  18 had been the subject of international sanctions. Al Jazeera, the State of
                  19 Qatar’s state-owned broadcaster, published those documents on March 8,
                  20 2018. None of the other media organizations to which the documents had
                  21 been distributed at the time did so.
                  22        76.    On March 8, 2018, Defendant Muzin demonstrated his
                  23 knowledge that Plaintiff Broidy had been successfully targeted by the State of
                  24 Qatar by stating: “I did not cause the Broidy stuff, just because I have
                  25 information” and “I don’t know all the details, but I know that I am hearing
                  26 repeatedly that there’s a lot more coming.”
                  27
                  28                                        -23-
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                   1         77.   On information and belief, following that March 8, 2018
                   2 conversation, there were further unlawful disclosures of the contents of
                   3 Plaintiffs’ emails and the altered and forged documents, and the New York
                   4 Times, The Associated Press, Newsweek, Bloomberg, The Huffington Post,
                   5 and other news organizations have indicated to Plaintiffs that they have
                   6 received documents that purport to belong to Plaintiffs, and plan to write
                   7 additional stories about them. The dissemination of stolen and doctored
L L P




                   8 materials concerning Plaintiffs is ongoing.
F L E X N E R




                   9         78.   Although Defendant Muzin has attempted to distance himself
                  10 from the attacks on those accounts by stating he wasn’t “the one who’s calling
                  11 the reporters and giving the stories,” Defendant Muzin also mentioned that
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                  12 there are weekly meetings at the Embassy of Defendant State of Qatar in
                  13 Washington D.C. in which he or his representatives along with high-level
                  14 Embassy personnel and other registered agents of Defendant the State of
                  15 Qatar discuss strategies to improve its image, which strategies include
B O I E S




                  16 targeting and destroying the reputations of those who oppose them. “Broidy’s
                  17 name comes up in Embassy meetings often,” Defendant Muzin stated. In
                  18 subsequent conversations, Defendant Muzin clearly demonstrated his
                  19 knowledge of and encouragement of the unlawful conduct towards Plaintiff
                  20 Broidy and his participation in the conspiracy, by stating that “there’s a lot
                  21 more coming,” which, on information and belief, was followed by further
                  22 leaks of Plaintiffs’ emails and the altered and forged documents. Defendant
                  23 Muzin stated to another individual critical of Qatar: “I know they’re [Qatari
                  24 officials] after you and Broidy.” (emphasis added.)
                  25         79.   Defendant Muzin worked closely with high-level Qatari officials
                  26 on shaping their outreach in Washington D.C. He not only attended meetings
                  27 at the Embassy of Qatar but has been involved in planning the Emir’s
                  28                                        -24-
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                   1 forthcoming trip to Washington D.C., and was aware of details of that state
                   2 visit before they were made public. On information and belief, Defendant
                   3 Muzin hoped to parlay his high-level work with Qatari officials into lucrative
                   4 business deals in Qatar.
                   5        80.    On March 19, 2018, Plaintiffs’ counsel formally requested that
                   6 the State of Qatar take appropriate action to halt the attacks on Plaintiffs’
                   7 emails, documents, and data and to stop Defendants from disseminating
L L P




                   8 Plaintiffs’ emails, documents, and data and/or to assist Plaintiffs in halting
F L E X N E R




                   9 dissemination if the hack had been conducted by a rogue actor in the State of
                  10 Qatar. However, to date, no response has been received to that letter.
                  11        81.    On information and belief, the State of Qatar, with the knowledge
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                  12 and participation of the Agent Defendants, orchestrated the attack on
                  13 Plaintiffs’ email accounts after Defendant Muzin identified Plaintiff Broidy as
                  14 an individual who was opposing the State of Qatar’s efforts to improve its
                  15 image and relationships in Washington, D.C. and who was aligned with its
B O I E S




                  16 regional rivals, the UAE and Saudi Arabia.
                  17    FOR A FIRST CAUSE OF ACTION AGAINST ALL DEFENDANTS
                                      Computer Fraud and Abuse Act
                  18                 18 U.S.C. §§ 1030(a)(2)(C) & (a)(5)
                  19        82.    Plaintiffs incorporate and adopt by reference the allegations
                  20 contained in each and every preceding paragraph of this Complaint.
                  21        83.    On information and belief, Defendant the State of Qatar, by itself
                  22 and/or through its agent Ooredoo and the Agent Defendants, accessed
                  23 Plaintiffs’ computers at Broidy Capital Management, specifically by accessing
                  24 accounts associated with Plaintiff Broidy and other BCM employees. Said
                  25 Defendants first compromised Plaintiff Rosenzweig’s personal email account
                  26 by a targeted phishing email in December 2017, and thereafter, beginning on
                  27 or about January 16, 2018, and without authorization, accessed the corporate
                  28                                        -25-
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                   1 accounts of Plaintiff Broidy and other BCM employees. Defendants did so
                   2 with knowledge that they were accessing these accounts without Plaintiffs’
                   3 authorization. Defendants not only engaged in the deliberate phishing attacks
                   4 and unauthorized access, but also implemented identifiable obfuscation
                   5 techniques to engage in ultimately unsuccessful efforts to hide the origin of
                   6 their cyber-attacks.
                   7         84.   On information and belief, by engaging in this conduct,
L L P




                   8 Defendants accessed protected computers, defined by 18 U.S.C.
F L E X N E R




                   9 § 1030(e)(2)(B) as computers “used in or affecting interstate or foreign
                  10 commerce or communication.”
                  11         85.   On information and belief, after accessing the relevant accounts,
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                  12 Defendants obtained and stole private emails and documents, and then
                  13 distributed Plaintiffs’ private information to the media. Defendants also
                  14 altered information contained in the emails, and in some instances wholly
                  15 forged new documents, and then distributed those altered or forged documents
B O I E S




                  16 to the media. On information and belief, by virtue of the actions of
                  17 Defendants, Plaintiffs suffered damage, including harm to their data,
                  18 programs, and computer systems, including but not limited to the stealing of
                  19 Plaintiffs’ data, and the corruption and doctoring of Plaintiffs’ emails.
                  20         86.   On information and belief, by virtue of the actions of Defendants,
                  21 Plaintiffs also suffered loss, including but not limited to the investigation costs
                  22 associated with identifying the cyber-attacks and repairing the integrity of
                  23 Plaintiffs’ computer systems after the attacks, including by hiring forensic
                  24 investigators and data security experts, and attorneys, among other losses, in
                  25 an amount to be proven at trial, but in any event, in excess of $5,000 and,
                  26 together with the other alleged damages, in excess of $75,000, exclusive of
                  27 interest and costs.
                  28                                         -26-
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                   1         87.   On information and belief, the unlawful action by Defendants
                   2 also has caused, and will continue to cause Plaintiffs irreparable injury,
                   3 including reputational harm, an increased risk of further theft, an increased
                   4 risk of harassment, and increased risk of being required to engage in costly
                   5 efforts to defend themselves against erroneous, libelous accusations.
                   6 Plaintiffs’ remedy at law is not itself adequate to compensate for the injuries
                   7 inflicted by Defendants. Accordingly, Plaintiffs are also entitled to injunctive
L L P




                   8 relief to prevent the further accessing, use, and dissemination of Plaintiffs’
F L E X N E R




                   9 data.
                  10 FOR A SECOND CAUSE OF ACTION AGAINST ALL DEFENDANTS
                       California Comprehensive Computer Data Access and Fraud Act
                  11                       Cal. Pen. Code § 502
S C H I L L E R




                  12         88.   Plaintiffs incorporate and adopt by reference the allegations
                  13 contained in each and every preceding paragraph of this Complaint.
                  14         89.   On information and belief, Defendant the State of Qatar, acting
                  15 by itself and/or through its agent Ooredoo and the Agent Defendants, violated
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                  16 § 502(c)(2) by knowingly accessing and without permission taking and
                  17 making use of programs, data, and files from Plaintiffs’ computers, computer
                  18 systems, and/or computer networks.
                  19         90.   On information and belief, Defendants have violated § 502(c)(4)
                  20 by knowingly accessing and without permission altering Plaintiffs’ data,
                  21 which resided in Plaintiffs’ computers, computer systems, and/or computer
                  22 networks.
                  23         91.   On information and belief, Defendants have violated § 502(c)(6)
                  24 by knowingly and without permission providing or assisting in providing, a
                  25 means of accessing Plaintiffs’ computers, computer systems, and/or computer
                  26 networks.
                  27
                  28                                        -27-
                                                                        COMPLAINT AND DEMAND FOR JURY TRIAL
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                   1         92.   On information and belief, Defendants have violated § 502(c)(7)
                   2 by knowingly and without permission accessing, or causing to be accessed,
                   3 Plaintiffs’ computers, computer systems, and/or computer networks.
                   4         93.   On information and belief, Defendants have violated § 502(c)(9)
                   5 by knowingly and without permission using the Internet domain name or
                   6 profile of another individual in connection with the sending of one or more
                   7 email messages and thereby damaging Plaintiffs’ computers, computer data,
L L P




                   8 computer systems, and/or computer networks.
F L E X N E R




                   9         94.   Plaintiffs own certain data that comprises information that, on
                  10 information and belief, was obtained by Defendants as alleged above.
                  11         95.   On information and belief, Defendants knowingly accessed the
S C H I L L E R




                  12 computers at Plaintiff BCM as well as Plaintiff Rosenzweig’s computer in the
                  13 manner described above, and knew that at the time they accessed the various
                  14 accounts, they were without authorization to do so. For this reason,
                  15 Defendants engaged in phishing attacks as well as identifiable obfuscation
B O I E S




                  16 techniques in an attempt to hide the origin of their cyber-attack.
                  17         96.   On information and belief, after accessing the relevant accounts,
                  18 Defendants obtained and stole massive amounts of private emails and
                  19 documents, and then distributed Plaintiffs’ private information to the media.
                  20 Defendants also doctored the information contained in the emails and
                  21 documents, and then distributed those doctored or altered emails and
                  22 documents to the media.
                  23         97.   On information and belief, Defendants engaged in these actions
                  24 as part of a targeted attack on Plaintiff Broidy, who is an outspoken critic of
                  25 the Qatari government and whose businesses are assisting in developing the
                  26 defense and anti-terrorism capabilities of the UAE, one of the regional rivals
                  27
                  28                                        -28-
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                   1 of the State of Qatar, and has engaged in discussions to do the same for Saudi
                   2 Arabia, another regional rival of the State of Qatar.
                   3         98.   On information and belief, as a direct and proximate result of
                   4 Defendants’ unlawful conduct, Plaintiffs have been damaged in an amount to
                   5 be proven at trial, but in any event, in excess of $75,000 exclusive of interest
                   6 and costs, including but not limited to the investigation costs associated with
                   7 identifying the cyber-attacks; verifying the integrity of the computer systems,
L L P




                   8 computer networks, computer programs, and/or data; and repairing the
F L E X N E R




                   9 integrity of Plaintiffs’ computer systems after the attack, including by hiring
                  10 forensic investigators and data security experts. Plaintiffs are also entitled to
                  11 recover their attorneys’ fees pursuant to § 502(e).
S C H I L L E R




                  12         99.   Additionally, Defendants’ actions were willful and malicious,
                  13 such that Plaintiffs are also entitled to punitive damages under § 502(e)(4).
                  14         100. On information and belief, Defendants’ unlawful access to and
                  15 theft from Plaintiffs’ computers, and Defendants’ subsequent dissemination of
B O I E S




                  16 Plaintiffs’ information, has also caused, and will continue to cause, Plaintiffs
                  17 irreparable injury, including reputational harm, an increased risk of further
                  18 theft, and an increased risk of harassment. Plaintiffs’ remedy at law is not
                  19 itself adequate to compensate for the injuries inflicted by Defendants.
                  20 Accordingly, Plaintiffs are also entitled to injunctive relief to prevent the
                  21 further accessing, use, and dissemination of Plaintiffs’ data.
                  22    FOR A THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS
                                  Receipt and Possession of Stolen Property
                  23                 in Violation of Cal. Pen. Code § 496
                  24         101. Plaintiffs incorporate and adopt by reference the allegations
                  25 contained in each and every preceding paragraph of this Complaint.
                  26         102. On information and belief, Defendant the State of Qatar, acting
                  27 by itself and/or through its agent Ooredoo and/or the Agent Defendants,
                  28                                         -29-
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                   1 received property, including documents, emails, and other materials housed on
                   2 Plaintiffs’ computer networks, which had been stolen from Plaintiffs or had
                   3 been obtained from Plaintiffs in a manner that constitutes theft. Plaintiffs are
                   4 engaged in ongoing efforts to receive additional property stolen from
                   5 Plaintiffs or obtained from Plaintiffs in a manner that constitutes theft.
                   6         103. On information and belief, Defendants knew that the property
                   7 they received was stolen or obtained in a manner that constituted theft, and
L L P




                   8 Defendants know that the property they are continuing to acquire and
F L E X N E R




                   9 disseminate can only be acquired if it is stolen or obtained in a manner that
                  10 constitutes theft. In fact, Defendant Muzin acknowledged that he had
                  11 information about the cyber-attacks and knew that there was “a lot more
S C H I L L E R




                  12 coming.”
                  13         104. On information and belief, as a result of Defendants’ actions,
                  14 Plaintiffs have been damaged in an amount to be proven at trial, but in any
                  15 event, in excess of $75,000, exclusive of interest and costs, and are entitled to
B O I E S




                  16 treble damages, the costs of bringing this suit, and attorneys’ fees under §
                  17 496(c).
                  18         105. On information and belief, Defendants’ unlawful actions have
                  19 also caused, and will continue to cause Plaintiffs irreparable injury, including
                  20 reputational harm, an increased risk of further theft, and an increased risk of
                  21 harassment. Plaintiffs’ remedy at law is not itself adequate to compensate for
                  22 the injuries inflicted by Defendants. Accordingly, Plaintiffs are also entitled
                  23 to injunctive relief to prevent the further accessing, use, and dissemination of
                  24 Plaintiffs’ data.
                  25         ///
                  26         ///
                  27         ///
                  28                                        -30-
                                                                        COMPLAINT AND DEMAND FOR JURY TRIAL
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                       FOR A FOURTH CAUSE OF ACTION AGAINST ALL DEFENDANTS
                   1             Invasion of Privacy by Public Disclosure of
                                                Private Facts
                   2
                             106. Plaintiffs incorporate and adopt by reference the allegations
                   3
                       contained in each and every preceding paragraph of this Complaint.
                   4
                             107. Plaintiffs have a reasonable privacy interest in their personal
                   5
                       information, including information contained in their private email accounts.
                   6
                       Additionally, Plaintiffs had a reasonable expectation that information
                   7
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                       contained in their email accounts would remain private.
                   8
                             108. Access to Plaintiffs’ personal accounts was achieved by unlawful
F L E X N E R




                   9
                       hacking and stealing of personal data. Without these unlawful actions,
                  10
                       Plaintiffs’ personal information would not have been made public.
                  11
                             109. On information and belief, after hacking, stealing, and altering
S C H I L L E R




                  12
                       Plaintiffs’ personal information, Defendant the State of Qatar, acting by itself
                  13
                       and/or through its agent Ooredoo and the Agent Defendants, publicly
                  14
                       disclosed Plaintiffs’ personal information by disseminating the materials to
                  15
B O I E S




                       the media for publication, and sought to facilitate further disclosures by
                  16
                       providing staggered data “dumps” to the media.
                  17
                             110. On information and belief, the personal information that
                  18
                       Defendants have publicly disclosed includes, but is not limited to, confidential
                  19
                       communications between Plaintiff Broidy and his clients and/or personal
                  20
                       relations and legal documents, some of which have been fabricated or altered.
                  21
                             111. The public disclosure—and its threatened further disclosures—of
                  22
                       Plaintiffs’ personal information constitutes a public disclosure of private facts.
                  23
                             112. At no time have Plaintiffs waived or otherwise taken any action
                  24
                       that would constitute an implied waiver of their privilege against the public
                  25
                       disclosure of private facts.
                  26
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                  28                                         -31-
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                   1         113. On information and belief, the personal information that
                   2 Defendants have publicized, and are threatening to further publicize, are not
                   3 matters of public concern. Neither Defendants nor the public have a need to
                   4 acquire, review, or disseminate Plaintiffs’ personal information and
                   5 communications for any legitimate purpose. Nor, in fact, have Defendants
                   6 acted with a legitimate purpose. Rather, they have publicly disclosed
                   7 Plaintiffs’ private information merely to attack a private United States citizen.
L L P




                   8         114. The public disclosure of Plaintiffs’ personal information is highly
F L E X N E R




                   9 offensive to a reasonable person of ordinary sensibilities. Individuals have a
                  10 legitimate and reasonable interest in keeping their personal email
                  11 communications private, and reasonably expect that such information will not
S C H I L L E R




                  12 be publicly disclosed.
                  13         115. The public disclosure of Plaintiffs’ personal information has
                  14 caused, and will continue to cause, Plaintiffs injury, including reputational
                  15 harm, an increased risk of further theft, and an increased risk of harassment.
B O I E S




                  16         116. On information and belief, Plaintiffs will continue to suffer this
                  17 injury as long as their personal information is available to Defendants and,
                  18 consequently, to numerous organizations. Plaintiffs’ remedy at law is not
                  19 itself adequate to compensate for the injuries inflicted by Defendants.
                  20 Accordingly, Plaintiffs are entitled to injunctive relief to prevent the further
                  21 accessing, use, and dissemination of Plaintiffs’ data.
                  22         117. The public disclosure of Plaintiffs’ personal information has also
                  23 caused them to suffer monetary damages, at an amount to be proven at trial,
                  24 but in any event, in excess of $75,000, exclusive of interest and costs.
                  25 Because Defendants’ actions are intolerable in a civilized community,
                  26 Plaintiffs also seek punitive damages.
                  27         ///
                  28                                         -32-
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                        FOR A FIFTH CAUSE OF ACTION AGAINST ALL DEFENDANTS
                   1                  Invasion of Privacy by Intrusion
                                              Upon Seclusion
                   2
                             118. Plaintiffs incorporate and adopt by reference the allegations
                   3
                       contained in each and every preceding paragraph of this Complaint.
                   4
                             119. Plaintiffs have a legally protected privacy interest in their
                   5
                       personal information and email accounts, and had a reasonable expectation
                   6
                       that their information would remain private. Plaintiffs’ accounts were
                   7
L L P




                       password protected, and at no time did Plaintiffs provide those passwords, or
                   8
                       the contents of their emails, to the public.
F L E X N E R




                   9
                             120. On information and belief, Defendant the State of Qatar, acting
                  10
                       by itself and/or through its agent Ooredoo and the Agent Defendants, hacked,
                  11
                       stole, doctored, and disseminated to others the personal and private
S C H I L L E R




                  12
                       information of Plaintiffs. Defendants clearly did so without permission and
                  13
                       with deliberate intent to access and obtain Plaintiffs’ personal and private
                  14
                       information. At no point did Plaintiffs authorize Defendants to hack, steal,
                  15
B O I E S




                       doctor, or disseminate their personal and private information.
                  16
                             121. On information and belief, Defendants’ intentional intrusion
                  17
                       upon Plaintiffs’ seclusion was highly offensive to Plaintiffs and would be
                  18
                       unjustifiable and highly offensive to an ordinary, reasonable person.
                  19
                             122. The public disclosure of Plaintiffs’ personal information has
                  20
                       caused, and will continue to cause, Plaintiffs injury, including reputational
                  21
                       harm, an increased risk of further theft, and an increased risk of harassment.
                  22
                             123. Plaintiffs will continue to suffer this injury as long as their
                  23
                       personal information is available to Defendants and, subsequently, to media
                  24
                       organizations and the world at large. Plaintiffs’ remedy at law is not itself
                  25
                       adequate to compensate for the injuries inflicted by Defendants. Accordingly,
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                  27
                  28                                          -33-
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                   1 Plaintiffs are entitled to injunctive relief to prevent the further accessing, use,
                   2 and dissemination of Plaintiffs’ data.
                   3         124. The public disclosure of Plaintiffs’ personal information has also
                   4 caused them to suffer monetary damages, at an amount to be proven at trial,
                   5 but in any event, in excess of $75,000, exclusive of interest and costs.
                   6 Because Defendants’ actions are intolerable in a civilized community,
                   7 Plaintiffs also seek punitive damages.
L L P




                   8    FOR A SIXTH CAUSE OF ACTION AGAINST ALL DEFENDANTS
F L E X N E R




                   9                                     Conversion
                  10         125. Plaintiffs incorporate and adopt by reference the allegations
                  11 contained in each and every preceding paragraph of this Complaint.
S C H I L L E R




                  12         126. By hacking and stealing Plaintiffs’ personal emails and
                  13 documents, along with Plaintiff Rosenzweig’s passwords, Defendant the State
                  14 of Qatar, acting by itself and/or through its agent Ooredoo and the Agent
                  15 Defendants, took Plaintiffs’ exclusive private and personal property.
B O I E S




                  16 Additionally, on information and belief, certain of the emails were doctored
                  17 and then deleted by Defendants from Plaintiffs’ computers.
                  18         127. On information and belief, Defendants clearly engaged in these
                  19 actions without permission from Plaintiffs and with the deliberate intent to
                  20 access and obtain Plaintiffs’ personal and private information. At no point did
                  21 Plaintiffs authorize Defendants to hack, steal, doctor, or disseminate their
                  22 exclusive personal and private information.
                  23         128. Plaintiffs will continue to suffer injury as long as their personal
                  24 information is available to Defendants and, subsequently, to media
                  25 organizations and the world at large. Plaintiffs’ remedy at law is not itself
                  26 adequate to compensate for the injuries inflicted by Defendants. Accordingly,
                  27
                  28                                          -34-
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                   1 Plaintiffs are entitled to injunctive relief to prevent the further accessing, use,
                   2 and dissemination of Plaintiffs’ data.
                   3         129. The public disclosure of Plaintiffs’ personal information has also
                   4 caused them to suffer monetary damages, at an amount to be proven at trial,
                   5 but in any event, in excess of $75,000, exclusive of interest and costs.
                   6         130. Additionally, Defendants’ actions were willful and malicious,
                   7 such that Plaintiffs are also entitled to punitive damages.
L L P




                   8           FOR A SEVENTH CAUSE OF ACTION AGAINST ALL
                                              DEFENDANTS
F L E X N E R




                   9
                                                      Civil Conspiracy
                  10
                             131. Plaintiffs incorporate and adopt by reference the allegations
                  11
                       contained in each and every preceding paragraph of this Complaint.
S C H I L L E R




                  12
                             132. On information and belief, Defendants willfully, intentionally,
                  13
                       and knowingly agreed and conspired with each other and with others to
                  14
                       engage in the wrongful conduct alleged herein, including but not limited to
                  15
B O I E S




                                   a. Intentionally accessing Plaintiffs’ accounts without
                  16
                                       authorization and then stealing and/or doctoring Plaintiffs’
                  17
                                       data and emails, in violation of the Computer Fraud and
                  18
                                       Abuse Act, 18 U.S.C. § 1030(a)(2)(C) & (a)(5);
                  19
                                   b. Knowingly accessing or causing to be accessed, and without
                  20
                                       permission taking, altering, and making use of Plaintiffs’
                  21
                                       programs, data, and files from Plaintiffs’ computers, computer
                  22
                                       systems, and/or computer networks, and/or knowingly and
                  23
                                       without permission providing or assisting in providing a
                  24
                                       means of accessing Plaintiffs’ computers, computer systems,
                  25
                                       and/or computer networks, in violation of the California
                  26
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                  28                                          -35-
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                   1                   Comprehensive Computer Data Access and Fraud Act, Cal.
                   2                   Pen. Code § 502;
                   3               c. Intentionally receiving stolen property, in violation of Cal.
                   4                   Pen. Code § 496;
                   5               d. Invading Plaintiffs’ reasonable privacy interests and then
                   6                   publicly disseminating Plaintiffs’ private information in a
                   7                   manner that is highly offensive to a person of reasonable
L L P




                   8                   sensibilities; and/or
F L E X N E R




                   9               e. Taking and converting Plaintiffs’ exclusive private and
                  10                   personal property without permission and with deliberate
                  11                   intent to access and obtain Plaintiffs’ personal and private
S C H I L L E R




                  12                   information.
                  13         133. On information and belief, Defendants performed the acts alleged
                  14 pursuant to, and in furtherance of, their agreement and/or furthered the
                  15 conspiracy by cooperating, encouraging, ratifying, and/or adopting the
B O I E S




                  16 wrongful acts of others.
                  17         134. On information and belief, Defendants expressly or tacitly agreed
                  18 to, at the very least:
                  19               a. Devise and execute a scheme to access without permission,
                  20                   take, convert, alter, obtain, and use Plaintiffs’ private data and
                  21                   computer networks;
                  22               b. Transfer and then disseminate the stolen private data; and/or
                  23               c. Access, receive, and/or possess the stolen private information,
                  24                   all with the intent to harm Plaintiff Broidy, a private United
                  25                   States citizen residing in California.
                  26
                  27
                  28                                           -36-
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                   1         135. On information and belief, Defendants, with full knowledge that
                   2 they were engaged in wrongful actions, deliberately accessed, received,
                   3 possessed, stored, and helped to disseminate Plaintiffs’ stolen data and emails.
                   4         136. On information and belief, Defendants also had meetings wherein
                   5 targeting Plaintiff Broidy was discussed.
                   6         137. On information and belief, Defendants’ agreement was both
                   7 explicit and tacit. In particular, those Agent Defendants who were registered
L L P




                   8 agents of the State of Qatar under FARA, as well as unregistered agents of the
F L E X N E R




                   9 State of Qatar, were incentivized to do the bidding of the State of Qatar and
                  10 engage in any acts that would further the overall scheme.
                  11         138. Plaintiffs will continue to suffer injury as long as their personal
S C H I L L E R




                  12 information is available to Defendants and, subsequently, to media
                  13 organizations and the world at large. Plaintiffs’ remedy at law is not itself
                  14 adequate to compensate for the injuries inflicted by Defendants. Accordingly,
                  15 Plaintiffs are entitled to injunctive relief to prevent the further accessing, use,
B O I E S




                  16 and dissemination of Plaintiffs’ data.
                  17         139. On information and belief, Plaintiffs have been injured and have
                  18 suffered monetary damages as a result of Defendants’ conspiratorial actions in
                  19 an amount to be proven at trial, but in any event, in excess of $75,000,
                  20 exclusive of interest and costs.
                  21                             REQUEST FOR RELIEF
                  22         140. Plaintiffs repeat and re-allege the allegations contained in each
                  23 and every preceding paragraph of this Complaint.
                  24         141. Plaintiffs request that this Court order the following relief:
                  25                a.    Grant judgment in favor of Plaintiffs and against
                  26                      Defendants;
                  27                b.    Declare that Defendants’ conduct constitutes violations of
                  28                                          -37-
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                   1                   the statutes and common law cited herein;
                   2             c.    Grant all appropriate injunctive relief;
                   3             d.    Award Plaintiffs an appropriate amount in monetary
                   4                   damages as determined at trial, including pre- and post-
                   5                   judgment interest, and any treble damages to which
                   6                   Plaintiffs are entitled under Cal. Pen. Code § 496;
                   7             e.    Award Plaintiffs punitive damages under Cal. Pen. Code §
L L P




                   8                   502 as well as under Plaintiffs’ claims for invasion of
F L E X N E R




                   9                   privacy by public disclosure of private facts, invasion of
                  10                   privacy by intrusion upon seclusion, and conversion;
                  11             f.    Award Plaintiffs attorneys’ fees and the costs of bringing
S C H I L L E R




                  12                   this action; and
                  13             g.    Grant Plaintiffs such other relief as is just and appropriate.
                  14
                  15 Dated: March 26, 2018
B O I E S




                                                      Respectfully submitted,
                  16                                  BOIES SCHILLER FLEXNER LLP
                  17
                  18                                  By:         /s/
                  19                                         DAVID K. WILLINGHAM
                                                             Counsel for Plaintiffs
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                   1                           JURY TRIAL DEMANDED
                   2          Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a
                   3 trial by jury of all of the claims asserted in this Complaint so triable.
                   4
                   5 Dated: March 26, 2018                Respectfully submitted,
                   6                                      BOIES SCHILLER FLEXNER LLP
                   7
L L P




                   8                                      By:        /s/
F L E X N E R




                   9                                            DAVID K. WILLINGHAM
                                                                Counsel for Plaintiffs
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S C H I L L E R




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